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   1     NOTE: CHANGES MADE BY THE COURT
   2
         Service and filing of amended complaints must be
   3     in conformity with Local Rules 15-1 to 15-3.
         Defendants must file an Answer to the FAC and
   4
         may not rely on the Answer to the original
   5     Complaint.

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                                 UNITED STATES DISTRICT COURT
   9                            CENTRAL DISTRICT OF CALIFORNIA
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  11     NEHEMIAH KONG,                                     Case: No.: 2:19-cv-00098-JLS-KS
  12                       Plaintiff,
  13     v.
  14     TOWNE CENTER WEST I, LLC, a                        ORDER GRANTING JOINT
         Delaware Limited Liability Company;                STIPULATION TO FILE FIRST
  15     TOWNE CENTER WEST II, LLC, a                       AMENDED COMPLAINT
         Delaware Limited Liability Company; and
  16     Does 1-10,
  17
                          Defendants.
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   1          UPON STIPULATION OF THE PARTIES, IT IS HEREBY ORDERED THAT
   2   Plaintiff may file his First Amended Complaint (“FAC”). Plaintiff shall serve and file his
   3
       FAC in conformity with Local Rules 15-1 to 15-3 within seven days of the entry of this
   4
       Order. Defendant shall file an Answer to the FAC within fourteen days after service.
   5
              IT IS SO ORDERED.
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   7   Dated: September 09, 2019
                                            _________________________________________
   8                                        HONORABLE JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
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